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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
MARTHA ESTELA SOSA, on behalf of
herself and all others similarly situated,
                                                                    MEMORANDUM AND
                           Plaintiff,                               ORDER
       -against-
                                                                    20-CV-3053 (SIL)
FLUFF N FOLD LAUNDROMAT LLC,
STEVEN MENEXAS, and ELAINE
MENEXAS,

                            Defendants.
----------------------------------------------------------------X

STEVEN I. LOCKE, United States Magistrate Judge:

        On August 19, 2021, in this wage and hour action brought pursuant to the Fair

Labor Standards Act of 1938 (“FLSA”), 29 U.S.C. § 201 et seq., and the New York

Labor Law (“NYLL”), N.Y. Lab. Law § 190 et seq. and § 650 et seq., Plaintiff Martha

Estela Sosa and Defendants Fluff n Fold Laundromat LLC, Steven Menexas and

Elaine Menexas (collectively, “Defendants”) submitted a motion seeking approval of

a Settlement Agreement and Release (the “Settlement Agreement”). 1 See DE [33].

On October 26, 2021, following reassignment to this Court, the parties appeared

before this Court for a fairness hearing pursuant to Cheeks v. Freeport Pancake

House, Inc., 796 F.3d 199, 206 (2d Cir. 2015). See DE [37].

        The Court finds that the Settlement Agreement’s terms are fair and

reasonable. See Cheeks, 796 F.3d at 206; see also Wolinsky v. Scholastic Inc., 900 F.

Supp. 2d 332, 335 (S.D.N.Y. 2012) (requiring that a district court scrutinize an FLSA


1This action has been assigned to this Court for all purposes pursuant to 28 U.S.C. § 636(c). See
Docket Entry (“DE”) [35]; Orders dated September 14, 2021, October 25, 2021.
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settlement agreement to determine that it is fair and reasonable). Accordingly, the

Settlement Agreement is approved, and the Clerk of the Court is directed to close this

case.


Dated:       Central Islip, New York       SO ORDERED.
             October 26, 2021
                                           /s/ Steven I. Locke
                                           STEVEN I. LOCKE
                                           United States Magistrate Judge




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